      Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 1 of 40 PageID #: 1




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK


 MARTIN RADEV, Individually and on Behalf             Case No.
 of All Others Similarly Situated,

                                Plaintiff,            CLASS ACTION COMPLAINT

                        v.
                                                      JURY TRIAL DEMANDED
 KEITH PATRICK GILL,

                                Defendant.


       Plaintiff Martin Radev (“Plaintiff”), individually and on behalf of all others similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Keith Patrick Gill

(“Defendant”), alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s

own acts, and information and belief as to all other matters, based upon, inter alia, the investigation

conducted by and through Plaintiff’s attorneys, which included, among other things, a review of

public documents, United States (“U.S.”) Securities and Exchange Commission (“SEC”) filings,

wire and press releases published regarding the securities of GameStop Corp. (“GameStop” or the

“Company”), analysts’ reports and advisories about the Company, and information readily

obtainable on the Internet. Plaintiff believes that substantial, additional evidentiary support will

exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all persons

and entities other than Defendant that purchased or otherwise acquired GameStop securities

between May 13, 2024 and June 13, 2024, both dates inclusive (the “Class Period”), seeking to

recover damages caused by Defendant’s violations of the federal securities laws and to pursue




                                                  1
      Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 2 of 40 PageID #: 2




remedies under Sections 9(a), 9(f), 10(b), and 20A of the Securities Exchange Act of 1934 (the

“Exchange Act”), and Rule 10b-5(a) & (c) promulgated thereunder, against Defendant.

         2.       GameStop is a specialty retailer that provides games and entertainment products

through its stores and ecommerce platforms in the U.S., Canada, Australia, and Europe.

GameStop’s principal executive offices are located at 625 Westport Parkway, Grapevine, Texas

76051. The Company’s Class A common stock trades in an efficient market on the New York

Stock Exchange (“NYSE”) under the ticker symbol “GME.”

         3.       Defendant, known as “Roaring Kitty” on YouTube and the social media platform

X (f/k/a Twitter), as well as “DeepF***ingValue” (“DFV”) on the social media platform Reddit,

is an American financial analyst and investor, as well as former financial analyst for Massachusetts

Mutual Life Insurance Company, also referred to as “MassMutual.” Defendant is also a former

registered stockbroker who holds several securities-industry licenses, as well as one of

GameStop’s largest shareholders. As of June 2024, Defendant had over 1.6 million followers on

X, 982,000 subscribers on YouTube, 116,000 members on his personal subreddit1 “r/roaringkitty”

(ranked “Top 2%” in size among top Reddit communities), and 200,000 members on his personal

subreddit “r/DeepF***ingValue.”

         4.       Defendant was a key figure in the so-called “meme stock”2 movement, which saw

shares of GameStop and a handful of other companies surge as much as twenty-one-fold over two

weeks in January 2021 before crashing to pre-surge levels in the subsequent days. Meme stocks

are stocks that gained viral popularity on discussion threads on social media platforms like Reddit



1
 A “subreddit” is a subsidiary discussion thread or category, dedicated to a specific topic, on the Reddit social media
platform.
2
 A “meme” is a form of content—typically an image, video, or piece of text—usually humorous in nature, that is
copied and spread rapidly by internet users.



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      Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 3 of 40 PageID #: 3




and X, where online communities of retail investors dedicated their attention to particular stocks,

sometimes for purposes of initiating a squeeze on short investors and hedge funds, and other times

based on genuine beliefs about a company’s prospects.

         5.       Defendant’s ability to rally a massive following of retail investors to purchase and

hold GameStop securities through his social media posts is well-documented. In 2021, after the

meme stock movement sparked chaos in the financial markets as major hedge funds and others

lost billions of dollars in short-squeeze events, Defendant testified before the U.S. House

Committee on Financial Services about the meme stock movement as the perceived champion and

face of that movement for GameStop investors. In fact, Defendant is largely credited as sparking

the meme stock movement and, in 2023 a biographical film called Dumb Money was released

chronicling these events and Defendant’s subsequent rise to celebrity status.

         6.       Defendant’s last post on Reddit in 2021 showed that his GameStop positions were

worth approximately $30 million. Defendant made his fortune as an investor largely, if not

entirely, as a result of his participation in the 2021 meme stock movement.

         7.       On May 12, 2024, for the first time in nearly three years,3 Defendant made a post

on the social media platform X, which took the form of a meme showing a “gamer”—that is, an

individual that plays video games—in a suit, leaning forward in his chair in seeming concentration

and/or attention. As reported by multiple news outlets, this meme was widely understood by

Defendant’s followers, analysts, and others to mean that Defendant was watching and/or following

GameStop’s performance.4 Over the next few days, Defendant posted a series of subsequent


3
  Before May 12, 2024, Defendant’s last post via his Roaring Kitty account on X occurred on June 18, 2021, and took
the form of a collage of short clips of kittens sleeping, seemingly in reference to what would become his nearly 3-year
hiatus from the social media platform.
4
 See, e.g., Kim Khan, Roaring Kitty’s return amps up meme stock animal spirits - GME +74%, Seeking Alpha (May
13, 2024, 1:55 PM ET), https://seekingalpha.com/news/4105129-roaring-kittys-return-amps-up-meme-stock-animal-
spirits (“Buying pressure for GameStop has been building all May but went up a notch after Keith Gill, known online


                                                          3
      Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 4 of 40 PageID #: 4




memes on X—largely taking the form of video clips with a battle or fight theme from popular

movies and television shows, overlaid with text or other graphics—that were similarly understood

to generally reflect Defendant’s renewed interest in GameStop.

        8.       As the market reacted to Defendant’s posts, GameStop’s stock price surged, rising

by $12.99 per share, or over 74%, to close at $30.45 per share on May 13, 2024—the first trading

day following Defendant’s post on X. GameStop’s stock price continued to climb the following

trading day, closing at $48.75 per share, an increase of over 179% from the stock’s closing price

of $17.46 per share on May 10, 2024—the last trading day before Defendant’s post on X—only to

normalize again and close as low as $18.32 per share by May 23, 2024.

        9.       On Sunday, June 2, 2024, to pump the prices of GameStop’s securities back up,

Defendant revealed his large stake in the Company via a post on Reddit, causing GameStop shares

to soar more than 70% in early premarket trading on June 3, 2024. In particular, Defendant posted

a screenshot of his GameStop portfolio on Reddit through his DFV account, revealing that he

owned 5 million shares of GameStop stock and 120,000 GameStop call options with a strike price

of $20, which were set to expire on June 21, 2024. Significantly, this post did not reveal when

Defendant had purchased these securities.

        10.      On June 3, 2024, GameStop’s stock price ultimately closed at $28.00 per share—

21% higher than the prior trading day’s closing price of $23.14 per share on May 31, 2024.

        11.      On June 3, 2024, shortly before markets closed, the Wall Street Journal (“WSJ”)

published an article revealing that Defendant had purchased “a large volume of GameStop options


as Roaring Kitty, tweeted for the first time in nearly three years. He simply posted a meme of a man leaning forward,
but GME [GameStop] got the message that he was taking notice in of the recent action.” (Emphasis added.)); Jessica
Kuruthukulangara, GameStop surges as Roaring Kitty reveals $116M bet; other meme stocks rally, Seeking Alpha
(June 3, 2024, 6:02 AM ET), https://seekingalpha.com/news/4112184-roaring-kitty-gamestop-stake-meme-stock-
rally (“GameStop (GME) shares had rallied last month after Gill returned to social media after three years, simply
posting an image of a man leaning forward, signaling that he was watching the stock. That was enough to ignite a
buying frenzy, with the stock more than doubling in value in May.” (Emphasis added.)).


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     Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 5 of 40 PageID #: 5




on E*Trade” shortly before his May 12, 2024 post on X that sent GameStop securities soaring.

The WSJ reported that “E*Trade is considering telling Defendant that he can no longer use its

platform after growing concerned about potential stock manipulation around his recent purchases

of GameStop options, according to people familiar with the matter.” The article reported

that “[s]hortly before [Defendant] reignited a meme-stock craze in May, he bought a large volume

of GameStop options on E*Trade,” and that “[t]his week, Gill posted screenshots of an E*Trade

account showing he owns GameStop shares now valued at $140 million and a new set of options

that expire later this month. His total gains on the positions were at $85.5 million, he posted late

[on June 3], showing his account remained in operation.” The WSJ article stated that “E*Trade

and its owner Morgan Stanley” had “concerns [Defendant] can pump up a stock for his own

benefit” and are “debat[ing] whether his actions amounted to manipulation[.]” Finally, the article

reported that “the Massachusetts securities division is looking into [Defendant]’s activities” and

that “[t]he [SEC] has also been reviewing trading in GameStop call options around the time of

[Defendant]’s social media posts[.]”

       12.     On this news, GameStop’s stock price fell $1.50 per share, or 5.36%, to close at

$26.50 per share on June 4, 2024.

       13.     Then, on June 13, 2024, during after-market hours, Defendant posted another

screenshot of his GameStop portfolio on Reddit through his DFV account, showing that his

portfolio no longer included the 120,000 GameStop call options set to expire on June 21, 2024,

and that his position in GameStop stock had increased from 5 million shares to over 9 million

shares, making him one of the Company’s largest shareholders. Defendant profited handsomely

from these transactions. In particular, before his May 12, 2024 post on X that reignited the meme

stock movement, GameStop call options were generally trading at less than $3.00 per option




                                                 5
     Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 6 of 40 PageID #: 6




contract. After his May 12, 2024 post on X and during the Class Period, the value of these options

rose dramatically to an average of $10.16 per option contract, peaking at a closing price of $31.00

per option contract on May 14, 2024 during the Class Period. These same options traded at around

$5.00 per option contract as of their June 21, 2024 expiration date.

         14.   Following news that Defendant had sold and/or exercised these GameStop call

options, GameStop’s stock price fell $4.42 per share, or 15.18%, over three consecutive trading

sessions, to close at $24.70 per share on June 18, 2024.

         15.   As detailed above, Defendant engaged in a pump-and-dump scheme, whereby he:

(i) shortly before his May 12, 2024 social media post on X, and unknown to investors, quietly

purchased a large volume of GameStop call options on E*Trade at comparatively low prices; (ii)

on May 12, 2024, reignited the meme stock movement and pumped the value of GameStop

securities with his first social media post on X in nearly three years; (iii) after the prices of

GameStop securities had abated, pumped the value of GameStop securities again via a June 2,

2024 post of his GameStop portfolio on Reddit, disclosing his large position in GameStop

securities, including 120,000 GameStop call options and 5 million shares of GameStop stock; and

(iv) by June 13, 2024, quietly sold and/or exercised (i.e., dumped) all 120,000 of his GameStop

call options for a large profit, seemingly to increase his own stake in GameStop stock by over 4

million shares, belatedly revealing as much to investors on June 13, 2024, during after-market

hours.

         16.   As a result of Defendant’s wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.




                                                 6
      Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 7 of 40 PageID #: 7




                                  JURISDICTION AND VENUE

        17.    The claims asserted herein arise under and pursuant to Sections 9(a), 9(f), 10(b),

and 20A of the Exchange Act (15 U.S.C. §§ 78i(a), 78i(f), 78j(b), 78t-1), and Rule 10b-5(a) & (c)

promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5(a) & (c)).

        18.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.

        19.    Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Pursuant to GameStop’s most recent annual report

(as amended) on Form 10-K/A, as of March 20, 2024, there were 305,873,200 shares of the

Company’s Class A common stock outstanding. GameStop’s Class A common stock trades on

the NYSE.     Accordingly, there are presumably hundreds, if not thousands, of investors in

GameStop’s securities located in the U.S., some of whom undoubtedly reside in this Judicial

District.

        20.    In connection with the acts alleged in this complaint, Defendant, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                            PARTIES

        21.    Plaintiff, as set forth in the attached Certification, acquired GameStop securities at

artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.

        22.    Defendant is an American financial analyst, investor, and former registered

stockbroker that holds several securities-industry licenses.       Defendant is also one of the




                                                 7
     Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 8 of 40 PageID #: 8




Company’s largest shareholders. Defendant enjoys celebrity status for his posts on social media,

where he discusses GameStop’s business, financial health, and prospects as a profitable business

with his millions of followers. In addition, Defendant was formerly a financial analyst for

Massachusetts Mutual Life Insurance Company, also known as “MassMutual.” Upon information

and belief, Defendant resides in Wilmington, Massachusetts.

                              SUBSTANTIVE ALLEGATIONS

                                          Background

       23.     GameStop is a specialty retailer that provides games and entertainment products

through its stores and ecommerce platforms in the U.S., Canada, Australia, and Europe.

GameStop’s principal executive offices are located at 625 Westport Parkway, Grapevine, Texas

76051. The Company’s Class A common stock trades in an efficient market on the NYSE under

the ticker symbol “GME.”

       24.     Defendant, known as “Roaring Kitty” on YouTube and the social media platform

X (f/k/a Twitter), as well as DFV on the social media platform Reddit, is an American financial

analyst and investor, as well as former financial analyst for Massachusetts Mutual Life Insurance

Company, also referred to as “MassMutual.” Defendant is also a former registered stockbroker

who holds several securities-industry licenses, as well as one of GameStop’s largest shareholders.

As of June 2024, Defendant had over 1.6 million followers on X, 982,000 subscribers on YouTube,

116,000 members on his personal subreddit “r/roaringkitty” (ranked “Top 2%” in size among top

Reddit communities), and 200,000 members on his personal subreddit “r/DeepF***ingValue.”

       25.     Defendant was a key figure in the so-called “meme stock” movement, which saw

shares of GameStop and a handful of other companies surge as much as twenty-one-fold over two

weeks in January 2021 before crashing to pre-surge levels in the subsequent days. Meme stocks




                                                8
     Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 9 of 40 PageID #: 9




are stocks that gained viral popularity on discussion threads on social media platforms like Reddit

and X, where online communities of retail investors dedicated their attention to particular stocks,

sometimes for purposes of initiating a squeeze on short investors and hedge funds, and other times

based on genuine beliefs about a company’s prospects.

       26.     Defendant’s ability to rally a massive following of retail investors to purchase and

hold GameStop securities through his social media posts is well-documented. In 2021, after the

meme stock movement sparked chaos in the financial markets as major hedge funds and others

lost billions of dollars in short-squeeze events, Defendant testified before the U.S. House

Committee on Financial Services about the meme stock movement as the perceived champion and

face of that movement for GameStop investors. In fact, Defendant is largely credited as sparking

the meme stock movement and, in 2023 a biographical film called Dumb Money was released

chronicling these events and Defendant’s subsequent rise to celebrity status.

       27.     Defendant’s last post on Reddit in 2021 showed that his GameStop positions were

worth approximately $30 million. Defendant made his fortune as an investor largely, if not

entirely, as a result of his participation in the 2021 meme stock movement.

        Materially False and Misleading Statements Issued During the Class Period

       28.     The Class Period begins on May 13, 2024. On Sunday, May 12, 2024, Defendant,

for the first time in nearly three years, made a post via his Roaring Kitty account on the social

media platform X (the “May 12 Twitter Post”), which took the form of a meme (i.e., image)

showing a gamer in a suit, leaning forward in his chair in seeming concentration and/or attention:




                                                9
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 10 of 40 PageID #: 10




       29.    As exhibited above, Defendant’s May 12 Twitter Post garnered approximately 28.5

million views, 12,000 comments, 32,000 reposts, 135,000 reactions, and 7,100 bookmarks. As

detailed in subsequent news publications and as interpreted by his followers, the May 12 Twitter

Post was widely understood to mean that, for the first time in nearly 3 years, Defendant was




                                              10
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 11 of 40 PageID #: 11




following and/or paying attention to GameStop securities, as indicated by comments posted in

reply to the May 12 Twitter Post, a sample of which are provided below by way of example:




                                             11
Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 12 of 40 PageID #: 12




                                  12
Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 13 of 40 PageID #: 13




                                  13
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 14 of 40 PageID #: 14




       30.     Over the next few days, Defendant posted a subsequent series of memes on X via

his Roaring Kitty account, largely taking the form of video clips with a battle or fight theme from

popular movies and television shows, overlaid with text or other graphics, that, likewise, were

widely understood to reflect Defendant’s renewed interest in GameStop and served as a rallying

cry to pump the Company’s stock price higher. For example, in the following sequence of images

taken from one such video, Defendant refers to the “demise of his stock”—i.e., GameStop stock

(the one with which he is famously associated)—and that he had taken its demise “rather lightly”;

which cuts to a sequence of a man loading what appears to be a rifle, followed by the phrase “For

every action[,] there’s a reaction”; followed by images telling his followers to “put your best face

on” and “go out with a bang”; followed by his own directorial credit; and ending with an image

superimposed with the phase “have I got your attention now?”:




                                                14
Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 15 of 40 PageID #: 15




                                  15
Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 16 of 40 PageID #: 16




                                  16
Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 17 of 40 PageID #: 17




                                  17
Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 18 of 40 PageID #: 18




                                  18
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 19 of 40 PageID #: 19




       31.    Indeed, as the market reacted to Defendant’s posts, GameStop’s stock price surged,

rising by $12.99 per share, or over 74%, to close at $30.45 per share on May 13, 2024—the first



                                              19
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 20 of 40 PageID #: 20




trading day following Defendant’s post on X. GameStop’s stock price continued to climb the

following trading day, closing at $48.75 per share, an increase of over 179% from the stock’s

closing price of $17.46 per share on May 10, 2024—the last trading day before Defendant’s post

on X—only to stabilize again and close as low as $18.32 per share by May 23, 2024.

       32.     On Sunday, June 2, 2024, to pump the prices of GameStop’s securities back up,

Defendant revealed his large stake in the Company via a post on Reddit (the “June 2 Reddit Post”),

causing GameStop shares to soar more than 70% in early premarket trading on June 3, 2024. In

particular, the June 2 Reddit Post took the form of a screenshot of his GameStop portfolio,

revealing that he owned 5 million shares of GameStop stock and 120,000 GameStop call options

with a strike price of $20, which were set to expire on June 21, 2024. Significantly, this post did

not reveal when Defendant had purchased these securities:




       33.     As exhibited above, Defendant’s June 2 Reddit Post garnered approximately

108,000 up-votes (i.e., the Reddit-equivalent of an expression of approval), 21,000 comments, and

12,000 reactions. Defendant’s followers interpreted the June 2 Reddit Post as Defendant’s rallying




                                                20
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 21 of 40 PageID #: 21




cry to invest in GameStop securities, as reflected in comments posted in reply to the June 2 Reddit

Post, a sample of which are provided below by way of example:




                                                21
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 22 of 40 PageID #: 22




        34.     Accordingly, the next trading day, on June 3, 2024, GameStop’s stock price closed

at $28.00 per share—21% higher than the prior trading day’s closing price of $23.14 per share on

May 31, 2024.

                                          The Truth Emerges

        35.     On June 3, 2024, shortly before markets closed, the WSJ published an article

entitled “E*Trade Considers Kicking Meme-Stock Leader Keith Gill Off Platform” (the “WSJ

Article”),5 reporting, inter alia, that E*Trade and its owner Morgan Stanley, the Massachusetts

securities division, and the SEC were concerned that Defendant had manipulated the prices of

GameStop securities for his own benefit. The WSJ Article also revealed, for the first time, that

Defendant had purchased a large volume of GameStop options shortly before his May 12 Twitter

Post that reignited the meme stock movement. In particular, the WSJ Article stated, in relevant

part:

        E*Trade is considering telling meme-stock leader Keith Gill he can no longer use
        its platform after growing concerned about potential stock manipulation around his


5
  The WSJ Article was subsequently updated during after-market hours the same day. Because the WSJ Article as
originally published is no longer available, this Complaint cites the as-updated version.



                                                     22
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 23 of 40 PageID #: 23




        recent purchases of GameStop options, according to people familiar with the
        matter.

        Shortly before Gill reignited a meme-stock craze in May, he bought a large
        volume of GameStop options on E*Trade, the people said. This week, Gill posted
        screenshots of an E*Trade account showing he owns GameStop shares now valued
        at $140 million and a new set of options that expire later this month. His total gains
        on the positions were at $85.5 million, he posted late Monday, showing his account
        remained in operation.

        The stock of GameStop surged again on his posts, showing the power Gill, also
        known as Roaring Kitty and DeepF—Value, has as an influencer. GameStop
        shares, up 21% on Monday, have risen more than 60% since he reappeared.

        At E*Trade and its owner Morgan Stanley, that power created concerns he can
        pump up a stock for his own benefit. Their debate includes whether his actions
        amounted to manipulation and whether or not the firm is willing to risk drawing the
        attention of his meme army by removing him, according to people familiar with
        their internal discussions.

                                                ***

        Separately, the Massachusetts securities division is looking into Gill’s activities, a
        spokeswoman said Monday.

        Gill couldn’t immediately be reached for comment.

        The [SEC] has also been reviewing trading in GameStop call options around the
        time of Gill’s social-media posts, according to people familiar with the agency’s
        efforts. The options trades sparked internal discussions at the SEC over whether
        they could be considered manipulation, one of these people said.

(Emphasis added.)

        36.    With further respect to Defendant’s ability to manipulate the market for GameStop

securities, as well as Defendant’s actions that drew E*Trade’s, Morgan Stanley’s, the

Massachusetts securities division’s, and the SEC’s scrutiny, the WSJ Article reported, in relevant

part:

        Gill, who has described himself as a deep-value investor to The Wall Street Journal,
        has become the face of one of the biggest momentum trades in recent memory, with
        many individuals piling into GameStop with no regard for its fundamentals.




                                                 23
Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 24 of 40 PageID #: 24




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  Today, millions of people are watching. His followers on X have swelled to more
  than one million. Tom Bruni, head of market research at Stocktwits, said visits to
  the GameStop symbol page on the platform have surged more than 20-fold this
  year.




  Gill isn’t solely an amateur investor: He holds several securities-industry licenses
  and was previously a registered broker with a unit of Massachusetts Mutual Life
  Insurance, or MassMutual. MassMutual agreed to pay a $4 million fine in 2021 to
  settle an inquiry by state regulators for failing to supervise Gill’s social-media and
  trading activity.

  The debate about him as a client inside Morgan Stanley began about three weeks
  ago.

  On Sunday, May 12, an X account associated with Gill posted a picture of a man
  leaning forward in his seat, the first post in three years.

  The following day, just as demand for GameStop and other meme stocks surged,
  E*Trade’s systems crashed. The trading platform was down for most customers for
  several hours that day.

                                          ***

  Morgan Stanley employees, knowing that Gill is a customer, looked at his E*Trade
  account, according to people familiar with the matter. That sort of monitoring of
  clients is routine.

  The employees saw he had purchased call options before the tweet, the people said.
  A call option gives a trader the right to buy the stock by a certain date at a stated
  price. At least some of those options expired that week, one of the people said. That
  meant Gill’s trades likely generated profits thanks to the stock move his tweet
  generated.

  Morgan Stanley’s global financial-crimes unit and external counsel began
  discussing whether Gill’s actions were legal and whether the firm should cancel his
  E*Trade account, the people said.



                                           24
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 25 of 40 PageID #: 25




(Emphasis added.)

       37.     Following publication of the WSJ Article, GameStop’s stock price fell $1.50 per

share, or 5.36%, to close at $26.50 per share on June 4, 2024.

       38.     Then, on June 13, 2024, during after-market hours, Defendant posted another

screenshot of his GameStop portfolio on Reddit, showing that his portfolio no longer seemed to

include the 120,000 GameStop call options set to expire on June 21, 2024, and that his position in

GameStop stock had increased from 5 million shares to over 9 million shares, making him one of

the Company’s largest shareholders:




       39.     Defendant profited handsomely from these transactions. In particular, before his

May 12 Twitter Post that reignited the meme stock movement, GameStop call options were

generally trading at less than $3.00 per option contract. After the publication of his May 12 Twitter

Post and during the Class Period, the value of these options rose dramatically to an average of

$10.16 per option contract, peaking at a closing price of $31.00 per option contract on May 14,




                                                 25
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 26 of 40 PageID #: 26




2024 during the Class Period. These same options traded at around $5.00 per option contract as

of their June 21, 2024 expiration date.

       40.      Following news that Defendant had sold and/or exercised these GameStop call

options, GameStop’s stock price fell $4.42 per share, or 15.18%, over three consecutive trading

sessions, to close at $24.70 per share on June 18, 2024.

       41.      As detailed above, Defendant engaged in a pump-and-dump scheme, whereby he:

(i) shortly before his May 12, 2024 social media post on X, and unknown to investors, quietly

purchased a large volume of GameStop call options on E*Trade at comparatively low prices; (ii)

on May 12, 2024, reignited the meme stock movement and pumped the value of GameStop

securities with his first social media post on X in nearly three years; (iii) after the prices of

GameStop securities had relatively normalized, pumped the value of GameStop securities again

via a June 2, 2024 post of his GameStop portfolio on Reddit, disclosing his large position in

GameStop securities, including 120,000 GameStop call options and 5 million shares of GameStop

stock; and (iv) by June 13, 2024, quietly sold and/or exercised (i.e., dumped) all 120,000 of his

GameStop call options for a large profit, seemingly to increase his own stake in GameStop stock

by over 4 million shares, belatedly revealing as much to investors on June 13, 2024, during after-

market hours.

       42.      As a result of Defendant’s wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  SCIENTER ALLEGATIONS

       43.      During the Class Period, Defendant had both the motive and opportunity to commit

fraud. Indeed, Defendant had already made himself a millionaire by engaging in similar activity




                                                26
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 27 of 40 PageID #: 27




during 2021. Before his nearly 3-year hiatus from social media under his widely followed Roaring

Kitty and DFV accounts, Defendant made millions and became a celebrity as a result of his

participation in and status as the face of the meme stock movement, particularly with respect to

GameStop securities. Defendant still enjoys celebrity status and commands a following of millions

through his social media accounts.      Accordingly, Defendant was well aware of his ability to

manipulate the market for GameStop securities, as well as the benefits he could reap in doing so.

As the WSJ Article reported, Defendant purchased a large volume of GameStop options on

E*Trade shortly before resurfacing on social media for the first time in nearly 3 years and

publishing his May 12 Twitter Post that caused the prices of GameStop’s securities to surge. As

a result, Defendant realized millions of dollars in gains.

       44.     Defendant also had actual knowledge of the misleading nature of the information

he disseminated and/or circulated, or acted in reckless disregard of the true information known to

him at the time. Given his securities-industry licenses and previous position as a registered broker,

Defendant has specialized knowledge of securities markets and how they function. Defendant was

also aware at the time that he published the May 12 Twitter Post that he had, only shortly before

publishing the May 12 Twitter Post, purchased a large volume of GameStop options—a fact that

was not disclosed to investors, the market, or his millions of followers until the WSJ Article was

published the following month.

       45.     As a result of his actions alleged herein, Defendant participated in a scheme to

defraud and committed acts, practices, and participated in a course of conduct that operated as a

fraud or deceit on purchasers of the Company’s securities during the Class Period for his own

benefit.




                                                 27
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 28 of 40 PageID #: 28




                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

        46.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired GameStop securities during the Class Period (the “Class”); and were damaged upon the

revelation of the alleged corrective disclosures. Excluded from the Class are Defendant, members

of Defendant’s immediate family and their legal representatives, heirs, successors, or assigns, and

any entity in which Defendant has or had a controlling interest.

        47.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, GameStop securities were actively traded on the

NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by GameStop or its transfer agent and may be notified of

the pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        48.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendant’s wrongful conduct in violation of

federal law that is complained of herein.

        49.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class action and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.




                                                  28
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 29 of 40 PageID #: 29




       50.        Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                   whether the federal securities laws were violated by Defendant’s acts as alleged
                    herein;

                   whether Defendant manipulated the price and/or trading of GameStop’s
                    securities;

                   whether the prices of GameStop securities during the Class Period were
                    artificially inflated because of the Defendant’s conduct complained of herein; and

                   whether the members of the Class have sustained damages, and, if so, what is the
                    proper measure of damages.

       51.        A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       52.        Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine, in that:

                Defendant made public misrepresentations or failed to disclose material facts during
                 the Class Period;

                the omissions and misrepresentations were material;

                GameStop securities are traded in an efficient market;

                the Company’s shares were liquid and traded with moderate to heavy volume during
                 the Class Period;

                the Company traded on the NYSE and was covered by multiple analysts;

                the misrepresentations and omissions alleged would tend to induce a reasonable
                 investor to misjudge the value of the Company’s securities; and



                                                    29
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 30 of 40 PageID #: 30




             Plaintiff and members of the Class purchased, acquired, and/or sold GameStop
              securities between the time the Defendant failed to disclose or misrepresented
              material facts and the time the true facts were disclosed, without knowledge of the
              omitted or misrepresented facts.

        53.     Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        54.     Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendant omitted material information in

his Class Period statements in violation of a duty to disclose such information, as detailed above.

                                             COUNT I

   (Violations of Section 10(b) of the Exchange Act and Rule 10b-5(a) & (c) Promulgated
                               Thereunder Against Defendant)

        55.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        56.     This Count is asserted against Defendant and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5(a) & (c) promulgated thereunder by the SEC.

        57.     During the Class Period, Defendant employed devices and artifices to defraud, and

carried out a plan, scheme, and course of conduct which was intended to and throughout the Class

Period did: (a) deceive the investing public, including Plaintiff and other Class members, as alleged

herein; and (b) caused Plaintiff and the other members of the Class to purchase GameStop’s

securities at artificially inflated prices. In furtherance of this unlawful scheme, plan, and course

of conduct, Defendant engaged in the unlawful acts as alleged herein.

        58.     Defendant, directly and indirectly, by the use, means, or instrumentalities of

interstate commerce, and/or of the mails, engaged and participated in a continuous course of




                                                 30
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 31 of 40 PageID #: 31




conduct to conceal a plan to sell GameStop call options based on material, nonpublic information

that was known to Defendant before it was known, or could be known, to other investors.

        59.     Specifically, Defendant employed the following devices, schemes, and artifices to

defraud while in possession of material adverse non-public information and engaged in the

following acts, practices, and a course of conduct in an effort to secretly purchase GameStop call

options, drive up the price of those call options, and then divest of those call options at artificially

inflated prices to benefit himself and his own ownership position in GameStop stock to the

detriment of other investors and the market:

             Defendant secretly purchased a large volume of GameStop call options shortly before
              instigating and coordinating a campaign to promote GameStop securities, while
              already planning to sell GameStop securities, particularly call options, knowing that
              retail investors would understand Defendant’s statements and conduct as an
              encouragement to purchase GameStop securities;

             Defendant leveraged his Twitter and Reddit account and used his notoriety amongst
              retail investors as devices or artifices to defraud in furtherance of his scheme;

             On May 12, 2024, Defendant used his Twitter account as an artifice to deceive and
              trick investors. Defendant purposely posted a meme on Twitter that was widely
              understood to mean that he was following and/or paying attention to GameStop
              securities for the first time in nearly three years to stimulate demand in GameStop
              securities, knowing that the mere act of posting this meme on Twitter would increase
              trading activity and cause the prices of GameStop’s securities to rise. Concurrently,
              Defendant purposefully failed to disclose that he had purchased a large volume of
              GameStop call options shortly before publishing his May 12 Twitter post to hide what
              would have been his obvious intent in raising the prices of GameStop securities for
              his own benefit as a result of his large, then-undisclosed position in GameStop call
              options;

             On June 2, 2024, Defendant used his Reddit account as an artifice to deceive and trick
              investors. Defendant purposefully revealed that he had purchased 120,000
              GameStop call options and 5 million shares of GameStop stock by posting a
              screenshot of his GameStop portfolio on Reddit, knowing that the mere act of posting
              this screenshot on Reddit would increase trading activity and cause the prices of
              GameStop’s securities to again rise. Concurrently, Defendant purposefully failed to
              disclose that he had planned to shortly thereafter, or already did, sell and/or exercise
              these 120,000 GameStop call options at artificially inflated prices;



                                                  31
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 32 of 40 PageID #: 32




            Defendant formed a plan to sell his recently purchased GameStop call options before
             he twice promoted the purchase of GameStop’s securities through his May 12 Twitter
             post and June 2 Reddit Post;

            Defendant purposely failed to disclose his intent to sell and/or execute his GameStop
             call options before ultimately doing so in order to secretly dispose of his entire stake
             in GameStop call options before the market learned about his sales, while
             simultaneously generating demand for GameStop securities by selectively disclosing
             his purported increased financial interest in GameStop call options; and

            Defendant bought his GameStop call options at relatively low prices before pumping
             the market for GameStop securities and sold his GameStop call options at a large,
             undisclosed profit after pumping the prices of those call options to finance his
             purchase of millions of shares of GameStop stock, making him one of the Company’s
             largest shareholders, all of which was only disclosed to investors after the fact,
             sending the prices of those securities downward.

       60.      As a result of Defendant’s fraudulent scheme and failure to disclose material facts,

as set forth above, the market price for GameStop’s securities was artificially inflated during the

Class Period.

       61.      In ignorance of the fact that market prices of GameStop’s publicly traded securities

were artificially inflated, and relying upon the integrity of the market in which the Company’s

securities trade, and/or on the absence of material adverse information concealed from them as

detailed herein, Plaintiff and other Class members acquired GameStop’s securities during the Class

Period at artificially high prices and were damaged thereby.

       62.      At the time Defendant orchestrated this fraudulent scheme, Plaintiff and other Class

members were ignorant of its nature or existence. Had Plaintiff and the other members of the Class

and the marketplace known the truth about this unlawful scheme, Plaintiff and the other Class

members would not have purchased or otherwise acquired GameStop’s securities, or, if they had

acquired such securities during the Class Period, they would not have done so at the artificially

inflated prices at which they did.




                                                 32
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 33 of 40 PageID #: 33




       63.     As a direct and proximate result of Defendant’s wrongful scheme, Plaintiff and the

other members of the Class suffered damages in connection with their respective transactions in

the Company’s securities during the Class Period.

       64.     By virtue of the foregoing, Defendant violated Section 10(b) of the Exchange Act,

and Rule 10b-5(a) & (c) promulgated thereunder and is liable to Plaintiff and the Class members

who have been damaged as a result of such violations.

                                             COUNT II

       (Violations of Section 9(a)(2) and 9(f) of the Exchange Act Against Defendant)

       65.     Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       66.     This Count is asserted against Defendant and is based upon Section 9(a)(2) and 9(f)

of the Exchange Act, 15 U.S.C. §§ 78i(a)(2) & 78i(f).

       67.     During the Class Period, Defendant, directly or indirectly, alone or with one or

more other persons, effected a series of transactions in GameStop securities, as outlined above,

creating actual or apparent active trading activity in such securities, raising the price of such

securities, for the purpose of inducing the purchase of GameStop securities by others.

       68.     Defendant willfully engaged in these transactions for the purpose of inducing

Plaintiff and the Class to purchase GameStop securities.

       69.     As a direct and proximate result of Defendant’s wrongful conduct, Plaintiff and the

Class have suffered damages in that, in reliance on the integrity of the market, they paid artificially

inflated prices for GameStop securities.




                                                  33
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 34 of 40 PageID #: 34




         70.    Had Plaintiff and the Class known that the prices for GameStop securities were

artificially and falsely inflated due to Defendant’s conduct, they would not have purchased the

securities at the prices they paid, or at all.

                                                 COUNT III

         (Violations of Section 9(a)(3) and 9(f) of the Exchange Act Against Defendant)

         71.    Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

         72.    This Count is asserted against Defendant and is based upon Section 9(a)(3) and 9(f)

of the Exchange Act, 15 U.S.C. §§ 78i(a)(3) & 78i(f).

         73.    Defendant is a former registered stockbroker that holds several securities-industry

licenses; has made a fortune on his trades in GameStop securities; has a massive following of retail

investors numbering in the millions that he advises on the desirability of GameStop securities and

the Company’s financial health and prospects; and is presently one of the Company’s largest

shareholders. Accordingly, Defendant “is no average trader”; rather, he “is a market professional,”

and thus fits Section 9(a)(3)’s requirement that this Count be brought against, inter alia, a

“‘person,’ includ[ing] non-listed professional stock traders” that “‘circulat[es] or disseminat[es]’”

information to investors “‘in the ordinary course of business.’” In re Bed Bath & Beyond Corp.

Sec. Litig., No. 1:22-cv-2541 (TNM), 2023 U.S. Dist. LEXIS 129613, at *37-38 (D.D.C. July 27,

2023).

         74.    During the Class Period, Defendant circulated and disseminated materially false

and misleading information as alleged in this Complaint, which he knew or deliberately

disregarded were misleading in that the information contained misrepresentations or failed to




                                                    34
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 35 of 40 PageID #: 35




disclose material facts necessary in order to make the information, in light of the circumstances

under which the information was provided, not misleading.

        75.     Defendant circulated and disseminated the false and misleading information with

the purpose and to the effect that the price of GameStop securities would or was likely to rise.

        76.     Defendant willfully issued false and misleading information for the purpose of

inducing Plaintiff and the Class to purchase GameStop securities.

        77.     As a direct and proximate result of Defendant’s wrongful conduct, Plaintiff and the

Class have suffered damages in that, in reliance on the integrity of the market, they paid artificially

inflated prices for GameStop securities.

        78.     Had Plaintiff and the Class known that the prices for GameStop securities were

artificially and falsely inflated due to Defendant’s conduct, they would not have purchased the

securities at the prices they paid, or at all.

                                                 COUNT IV

              (Violations of Section 20A of the Exchange Act Against Defendant)

        79.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        80.     This Count is asserted for violations of Section 20A of the Exchange Act, 15 U.S.C.

§ 78t-1, by Defendant, who sold and/or exercised GameStop call options while in possession of

material, non-public information, as alleged herein, including specific facts about the timing and

existence of, as well as his intentions with respect to, his ownership of GameStop call options.

These specific facts were known to Defendant before they were known to other investors and the

market and before Defendant engaged in a scheme to pump and then dump the Company’s call

options.




                                                    35
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 36 of 40 PageID #: 36




       81.     Section 20A(a) of the Exchange Act provides that:

       Any person who violates any provision of [the Exchange Act] or the rules or
       regulations thereunder by purchasing or selling a security while in possession of
       material, nonpublic information shall be liable in an action in any court of
       competent jurisdiction to any person who, contemporaneously with the purchase or
       sale of securities that is the subject of such violation, has purchased (where such
       violation is based on a sale of securities) or sold (where such violation is based on
       a purchase of securities) securities of the same class.

       82.     As set forth herein, Defendant violated Section 10(b), Section 9(a)(2)-(3), and

Section 9(f) of the Exchange Act for the reasons stated in Counts I through III above. Additionally,

Defendant violated multiple provisions of the Exchange Act while in possession of material, non-

public adverse information.

       83.     Defendant’s sales of his GameStop call options sometime between May 13, 2024

and June 13, 2024 were made contemporaneously with Plaintiff’s purchases of GameStop call

options during the Class Period, which were made on May 13, 2024 and June 3, 2024. Plaintiff

and all other members of the Class who purchased GameStop call options contemporaneously with

Defendant’s sales of GameStop call options have suffered damages.

       84.     By reasons of the violations of the Exchange Act alleged herein, Defendant is liable

to Plaintiff and other Class members who purchased GameStop call options contemporaneously

with Defendant’s sales of GameStop call options during the Class Period.

       85.     Plaintiff and the other Class members, who purchased GameStop call options

contemporaneously with Defendant’s sales of GameStop call options, seek disgorgement by

Defendant of profits and gains from Defendant’s transactions.

       86.     This Action was brought within five years after the date of the last transaction

which is the subject of Defendant’s violations of Section 20A.




                                                36
    Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 37 of 40 PageID #: 37




                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees, and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: June 28, 2024                                    Respectfully submitted,

                                                        POMERANTZ LLP

                                                        /s/ Jeremy A. Lieberman
                                                        Jeremy A. Lieberman
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                   Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 38 of 40 PageID #: 38



                                               CERTIFICATION PURSUANT
                                             TO FEDERAL SECURITIES LAWS

                                  Martin Radev
                     1.      I, __________________________________________, make this declaration

            pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”) and/or Section

            21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the Private

            Securities Litigation Reform Act of 1995.

                     2.      I have reviewed a Complaint regarding the securities of GameStop Corp.

            (“GameStop”) and authorize the filing of a comparable complaint on my behalf.

                     3.      I did not purchase or acquire GameStop securities at the direction of plaintiffs’

            counsel or in order to participate in any private action arising under the Securities Act or Exchange

            Act.

                     4.      I am willing to serve as a representative party on behalf of a Class of investors who

            purchased or otherwise acquired GameStop securities during the Class Period as specified in the

            Complaint, including providing testimony at deposition and trial, if necessary. I understand that

            the Court has the authority to select the most adequate lead plaintiff in this action.

                     5.      The attached sheet lists all of my transactions in GameStop securities during the

            Class Period as specified in the Complaint.

                     6.      During the three-year period preceding the date on which this Certification is

            signed, I have not served or sought to serve as a representative party on behalf of a class under the

            federal securities laws.

                     7.      I agree not to accept any payment for serving as a representative party on behalf of

            the Class as set forth in the Complaint, beyond my pro rata share of any recovery, except such

            reasonable costs and expenses directly relating to the representation of the class as ordered or

            approved by the Court.
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                 Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 39 of 40 PageID #: 39



                     8.      I declare under penalty of perjury under the laws of the United States of America

            that the foregoing is true and correct.



                          6/12/2024
            Executed _____________________________
                         (Date)
                                                                   II       DocuSigned by:




                                                                   L
                                                             _______________________________________
                                                                          D7 1345483484460 ...
                                                                   (Signature)

                                                             Martin Radev
                                                             _______________________________________
                                                                   (Type or Print Name)
   Case 1:24-cv-04608 Document 1 Filed 06/28/24 Page 40 of 40 PageID #: 40



GameStop Corp. (GME)                                                                          Martin Radev

                                        List of Purchases/Acquisitions and Sales

    Transaction           Security                                        Number of      Price Per
       Type                Type                 Date                      Shares/Unit   Share/Unit

 Purchase/Acquisition   Common Stock          5/13/2024                       10        $32.6099
 Purchase/Acquisition   Common Stock          6/4/2024                         5        $26.2100
 Purchase/Acquisition   Common Stock          6/7/2024                         5        $29.1000
 Purchase/Acquisition   Common Stock          6/7/2024                         5        $28.6900
 Purchase/Acquisition   Common Stock          6/7/2024                         5        $37.9300
 Purchase/Acquisition   Common Stock          6/11/2024                        5        $25.3000

 Purchase/Acquisition   C 20240621 40         6/3/2024                         1         $7.4000
 Purchase/Acquisition   C 20240517 34         5/13/2024                        1         $7.5000
 Purchase/Acquisition   P 20240517 24         5/13/2024                        1         $3.4000
         Sale           P 20240517 24         5/17/2024                       (1)        $3.4200
